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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Edward                                                          Maria
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        E.                                                              Lisa
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Varipapa                                                        Varipapa
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years Edward Eugene Varipapa                                               Lisa Varipapa
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4881                                                     xxx-xx-8216
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Edward E. Varipapa
Debtor 2   Maria Lisa Varipapa                                                                        Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 100 Spring Road
                                 North Haven, CT 06473
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 New Haven
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 2    Maria Lisa Varipapa                                                                           Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 2    Maria Lisa Varipapa                                                                            Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?

                                      Yes.     Name and location of business

     A sole proprietorship is a
     business you operate as                   Artemis
     an individual, and is not a               Name of business, if any
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach                 Number, Street, City, State & ZIP Code
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 2    Maria Lisa Varipapa                                                                        Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 2    Maria Lisa Varipapa                                                                           Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Edward E. Varipapa                                            /s/ Maria Lisa Varipapa
                                 Edward E. Varipapa                                                Maria Lisa Varipapa
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     February 28, 2019                                 Executed on     February 28, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 2   Maria Lisa Varipapa                                                                            Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Neil Crane                                                     Date         February 28, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Neil Crane ct14537
                                Printed name

                                Law Office of Neil Crane, LLC
                                Firm name

                                2679 Whitney Avenue
                                Hamden, CT 06518
                                Number, Street, City, State & ZIP Code

                                Contact phone     203-230-2233                               Email address         neilcranecourt@neilcranelaw.com
                                ct14537 CT
                                Bar number & State




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                       354 Washington Avenue, LLC
                       Attn: President / Manager
                       140 North Branford Road
                       Branford, CT 06405


                       ADP
                       Attn: President / Manager
                       PO Box 12513
                       El Paso, TX 79912


                       Advanced Alarms Security System, Inc.
                       Attn: President / Manager
                       528 Washington Avenue
                       North Haven, CT 06473


                       Alyssa's Cakery
                       Attn: President / Manager
                       156 Center Street
                       Wallingford, CT 06492


                       Amenta Peter IMS
                       Attn: President / Manager
                       116 Washington Avenue
                       North Haven, CT 06473


                       American Eagle Credit Card
                       Attn: President / Manager
                       PO Box 104
                       Brattleboro, VT 05302-0104


                       American Express
                       Attn: President / Manager
                       PO Box 1270
                       Newark, NJ 07101-1270


                       Ameripride Linen & Uniform Services
                       Attn: President / Manager
                       PO Box 1390
                       Bemidji, MN 56619


                       Apollo Refrigeration
                       Attn: President / Manager
                       14 Marne Street
                       Hamden, CT 06514
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                   Atria
                   Attn: President / Manager
                   1261 Meriden Road
                   Building 3
                   Waterbury, CT 06705


                   Atty. Eric Opin
                   Attn: President / Manager
                   PO Box 412
                   266 Broad Street, Ste. H
                   Milford, CT 06460


                   Audi Financial Services
                   Attn: President / Manager
                   PO Box 3
                   Hillsboro, OR 97123


                   Avadanian & Associates, LLC
                   Attn: President / Manager
                   281 Young Harris Street
                   Suite D
                   Blairsville, GA 30512


                   Bank of New York Mellon
                   Attn: President / Manager
                   3815 South West Temple
                   PO Box 65250
                   Salt Lake City, UT 84115


                   Berdon, Young & Margolis PC
                   Attn: President / Manager
                   350 Orange Street, 2nd Floor
                   New Haven, CT 06511


                   Biehl & Biehl Inc
                   Attn: President / Manager
                   PO Box 87410
                   Carol Stream, IL 60188


                   Brescome Barton, Inc.
                   Attn: President / Manager
                   69 Defco Park Road
                   North Haven, CT 06473
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                    Brown & Joseph LTD
                    Attn: President / Manager
                    PO Box 59838
                    Schaumburg, IL 60159


                    Caine & Weiner
                    Attn: President / Manager
                    12005 Ford Road
                    Dallas, TX 75234


                    Caine & Weiner
                    Attn: President / Manager
                    1699 East Eoodfield Road, #360
                    Schaumburg, IL 60173


                    Can Capital
                    Attn: President / Manager
                    2015 Vaughn Road
                    Kennesaw, GA 30144


                    CAN Capital Inc.
                    Attn: President / Manager
                    2015 Vaughn Rd NW
                    Building 500
                    Kennesaw, GA 30144


                    Capital One
                    Attn: President / Manager
                    PO Box 71083
                    Charlotte, NC 28272-1083


                    Citibank N.A.
                    Attn: President / Manager
                    PO Box 6500
                    Sioux Falls, SD 57117-6500


                    Citizens One
                    Attn: President / Manager
                    PO Box 42124
                    Providence, RI 02940-2124


                    Colonial Restaurant Supply
                    Attn: President / Manager
                    225 Wallace Street
                    New Haven, CT 06511
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                    Comcast Cable
                    Attn: President / Manager
                    PO Box 1577
                    Newark, NJ 07101-1577


                    Connecticut Distributors, Inc.
                    Attn: President / Manager
                    333 Lordship Blvd.
                    Stratford, CT 06615


                    Connecticut Pest Elimination
                    Attn: President / Manager
                    273 Indian River Road
                    Orange, CT 06477


                    Davis, Mascola & Phillips
                    Attn: President / Manager
                    85 Old Barnes Road
                    Wallingford, CT 06492


                    Dichello Distributors
                    Attn: President / Manager
                    55 Marsh Hill Road
                    Orange, CT 06477


                    Discover
                    Attn: President / Manager
                    PO Box 71084
                    Charlotte, NC 28272-1084


                    Eder Brothers, Inc.
                    Attn: President / Manager
                    PO Box 26012
                    West Haven, CT 06516


                    Edifico, LLC
                    Attn: President / Manager
                    1674 Whitney Avenue
                    Hamden, CT 06517


                    Envirowash, LLC
                    Attn: President / Manager
                    P.O. Box 110291
                    Trumbull, CT 06611
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                    Falvey Linen Supply
                    Attn: President / Manager
                    88 Tolland Street
                    East Hartford, CT 06108


                    Fasano, Ippolito, Lee & Florentine, LLC
                    Attn: President / Manager
                    388 Orange Street
                    New Haven, CT 06511


                    Foxon Park Beverages, Inc.
                    Attn: President / Manager
                    103 Foxon Blvd
                    New Haven, CT 06513


                    G&G Beverage Distributors, INc.
                    Attn: President / Manager
                    207 Church Street
                    PO Box 4488
                    Wallingford, CT 06492


                    G.I.&J's Family Produce, LLC
                    Attn: President / Manager
                    312-313 Food Terminal Plaza
                    New Haven, CT 06511


                    GAP Card
                    Attn: President / Manager
                    PO Box 530942
                    Atlanta, GA 30353-0942


                    Gatestone & Company Internatio
                    Attn: President / Manager
                    1000 N. West St., Ste. 1200
                    Wilmington, DE 19801


                    GC Services
                    Attn: President / Manager
                    PO Box 3855
                    Houston, TX 77253


                    H.L. Page nka Palmer Latko Ledas
                    Attn: President / Manager
                    20 Tower Lane
                    Suite 305
                    Avon, CT 06001
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                    Hafsco Howard Arnold
                    Attn: President / Manager
                    47 Railroad Avenue
                    West Haven, CT 06516


                    Halloran and Sage
                    Attn: President / Manager
                    225 Asylum Avenue
                    Hartford, CT 06103


                    Hartford Insurance
                    Attn: President / Manager
                    PO Box 194203
                    San Francisco, CA 94119-4203


                    Hartford Insurance
                    Attn: President / Manager
                    PO Box 660916
                    Dallas, TX 75266


                    Hartley & Parker Limited
                    Attn: President / Manager
                    PO Box 742
                    Bridgeport, CT 06604


                    Houses into Homes
                    Attn: President / Manager
                    41 Marshall Road
                    Rocky Hill, CT 06067


                    I.C. System Inc.
                    Attn: President / Manager
                    444 Highway 96 East
                    PO Box 64437
                    Saint Paul, MN 55164-0437


                    IMS
                    Attn: President / Manager
                    116 Washington Avenue, Floor3
                    North Haven, CT 06473


                    Internal Revenue Service
                    Attn: President / Manager
                    PO Box 7346
                    Philadelphia, PA 19101-7346
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                    Law Offices of Pucin & Friedland PC
                    Attn: President / Manager
                    21210 Erwin Street, Ste. A
                    Woodland Hills, CA 91367


                    Levy Diamond Bello & Assoc. LLC
                    Attn: President / Manager
                    PO Box 352
                    Milford, CT 06460


                    Lexus Financial Services
                    Attn: President / Manager
                    PO Box 105386
                    Atlanta, GA 30348-5386


                    Liberty Mutual Insurance
                    Attn: President / Manager
                    175 Berkeley Street
                    Boston, MA 02116


                    Lisa Maturo
                    Attn: President / Manager
                    56 Sunrise Terrace
                    Wethersfield, CT 06109


                    Longhini Sausage Company
                    Attn: President / Manager
                    41 Longhini Lane
                    New Haven, CT 06519


                    McCarthy, Burgess & Wolff
                    Attn: President / Manager
                    The M & W Building
                    26000 Cannon Road
                    Bedford, OH 44146


                    McKenzie Becker & STevens
                    Attn: President / Manager
                    PO Box 1967
                    Lakeville, CT 06039


                    Metro Lobster and Seafood, Inc.
                    Attn: President / Manager
                    8 New England Way
                    Warwick, RI 02886
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                    Mr. Cooper
                    f/k/a Nationstar Mortgage
                    Attn: President / Manager
                    PO Box 650783
                    Dallas, TX 75265


                    MRS Associates
                    Attn: President / Manager
                    1930 Olney Ave.
                    Cherry Hill, NJ 08003


                    Napoli Foods
                    Attn: President / Manager
                    10 Knotter Drive
                    Cheshire, CT 06410


                    Nationwide Credit Inc.
                    Attn: President / Manager
                    PO Box 26314
                    Lehigh Valley, PA 18002-6314


                    Neighborhood Music
                    Attn: President / Manager
                    100 Audubon Street
                    New Haven, CT 06510


                    North Amerian Bancard
                    Attn: President / Manager
                    250 Stephenson Highway
                    Troy, MI 48083


                    North Haven Police Dept.
                    Attn: President / Manager
                    8 Linsley Street
                    North Haven, CT 06473


                    Northland Group Inc.
                    Attn: President / Manager
                    PO Box 390905
                    Minneapolis, MN 55439


                    Notre Dame High School
                    Attn: President / Manager
                    One Notre Dame Way
                    West Haven, CT 06516
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                    Rebel Interactive Group LLC
                    Attn: President / Manager
                    142 Center Street
                    Southington, CT 06489


                    RJ Mase LLC
                    Attn: President / Manager
                    1 Testa Pl, Unit 4
                    Norwalk, CT 06854


                    Sals Draft Service
                    Attn: President / Manager
                    18 Lazy Brook Road
                    Shelton, CT 06484


                    Sanitrol Septic Services LLC
                    Attn: President / Manager
                    27 Ciro Road
                    North Branford, CT 06471


                    SCGC
                    Attn: President / Manager
                    PO Box 9112
                    Chelsea, MA 02150-9112


                    Senn Visciano Canges PC
                    Attn: President / Manager
                    1700 Lincoln Street
                    Suite 4300
                    Denver, CO 80203


                    Southwest Recovery Service
                    Attn: President / Manager
                    15400 Knoll Trail Dr.
                    Dallas, TX 75248


                    Spinelli Bros. Baking Company
                    Attn: President / Manager
                    52 Main Street
                    Norwalk, CT 06854


                    Stacy L. Ruocco
                    Attn: President / Manager
                    44 Abrams Road
                    Cheshire, CT 06500
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                    Star Distributors
                    Attn: President / Manager
                    460 Frontage Road
                    West Haven, CT 06516


                    State of Connecticut - DRS
                    Attn: President / Manager
                    Collections Unit - Bankruptcy
                    450 Columbus Blvd., Ste. 1
                    Hartford, CT 06103-1837


                    State of Connecticut
                    Attn: President / Manager
                    Department of Labor
                    200 Folly Brook Boulevard
                    Wethersfield, CT 06109


                    Steve Roitman
                    Attn: President / Manager
                    100 Saint Paul Street
                    Suite 305
                    Denver, CO 80206


                    Sugarmann & Sugarmann
                    Attn: President / Manager
                    One Bradley Road
                    PO Box 3996
                    Woodbridge, CT 06525


                    TD Bank
                    Attn: President / Manager
                    2059 Springdale Road
                    Cherry Hill, NJ 08003


                    The Eagle Leasing Company
                    Attn: President / Manager
                    140 Boston Post Road
                    Orange, CT 06477


                    The Hartford Courant
                    Attn: President / Manager
                    285 Broad Street
                    Hartford, CT 06115
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                    The Leviton Law Firm Ltd
                    Attn: President / Manager
                    3 Golf Center, Ste. 361
                    Hoffman Estates, IL 60169


                    The Wine Press
                    Attn: President / Manager
                    118 Quinnipiac Avenue
                    North Haven, CT 06473


                    Town of North Haven
                    Attn: President / Manager
                    Dept. of Public Works
                    18 Church Street
                    North Haven, CT 06473


                    Uline
                    Attn: President / Manager
                    12575 Uline Drive
                    Pleasant Prairie, WI 53158


                    United Illuminating Co.
                    Attn: President / Manager
                    PO Box 9230
                    Chelsea, MA 02150-9230


                    Vital Recovery Services
                    Attn: President / Manager
                    PO Box 923748
                    Norcross, GA 30010-3748


                    Webbank
                    Attn: President / Manager
                    6250 Ridgewood Road
                    Saint Cloud, MN 56303


                    Zeldes Needle & Cooper
                    Attn: President / Manager
                    PO Box 1740
                    Bridgeport, CT 06601


                    Zwicker & Associates, P.C.
                    Attn: President / Manager
                    1699 King Street #207
                    Enfield, CT 06082
